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 1                                                       HONORABLE RICARDO S. MARTINEZ
 2

 3

 4

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 6
                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 8
     VETERANS FOR PEACE GREATER                          NO. C09-1032 RSM
 9   SEATTLE CHAPTER 92, et al.,
                                                         WASHINGTON STATE
10                             Plaintiffs,               DEPARTMENT OF
                                                         TRANSPORTATION'S ANSWER
11          v.
12   CITY OF SEATTLE, et al.,
13                             Defendants.
14
            Defendants Washington State Department of Transportation (WSDOT) and Paula J.
15

16   Hammond, in answer to the Complaint, admits, denies and alleges as follows:

17
                                       I.     INTRODUCTION
18
            1.1.   Defendant admits the State owns real property that is managed by WSDOT.
19
     Defendant admits that it is illegal for individuals to camp on real property owned by the State
20
     and managed by WSDOT. Defendant admits that it does not consent to allow individuals to
21

22   illegally camp on real property owned by the State and managed by WSDOT. Defendant

23   admits that WSDOT discovers that individuals are illegally camping on real property owned by
24   the State either by inspecting said property or from citizen complaints. Defendant admits that
25
     it requires individuals illegally camping on real property owned by that State to vacate said
26

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                                                                     Transportation & Public Construction Division
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 1   property.      Defendant denies that it acts with no regard for human rights and dignity of
 2   homeless individuals. Defendant is without knowledge or information sufficient to form a
 3
     belief as to the truth of the remaining averments made in Paragraph 1.1, and therefore, denies
 4
     them.
 5
             1.2.      Defendant admits that it planned to remove individuals illegally camped on
 6

 7   property owned by the State on July 23, 2009. Defendant denies that the Plaintiffs are entitled

 8   to the relief requested in Paragraph 1.2. Defendant denies the remaining averments made in
 9   Paragraph 1.2.
10
             1.3.      Defendant denies that the Plaintiffs are entitled to relief as requested in
11
     Paragraph 1.3. Defendants deny the remaining averments made in Paragraph 1.3.
12

13                                            II.    PARTIES
14           2.1.      Defendant is without knowledge or information sufficient to form a belief as to
15   the truth of the averments made in Paragraph 2.1, and therefore, denies them.
16
             2.2.      Defendant is without knowledge or information sufficient to form a belief as to
17
     the truth of the averments made in Paragraph 2.2, and therefore, denies them.
18
             2.3.      Defendant admits the averment set forth in Paragraph 2.3.
19

20           2.4.      Defendant admits that Greg Nickels is the mayor of the City of Seattle.

21   Defendant is without knowledge or information sufficient to form a belief as to the truth of the

22   remaining averments made in Paragraph 2.4, and therefore, denies them.
23
             2.5.      Defendant admits the averment in Paragraph 2.5.
24
             2.6.      Defendant admits that Paula J. Hammond is the Secretary of WSDOT.
25
     Defendant admits that Secretary Hammond is responsible for implementing and carrying out
26

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 1   WSDOT’s programs and policies. Defendant is without knowledge or information sufficient
 2   to form a belief as to the truth of the remaining averment made in Paragraph 2.6, and therefore,
 3
     denies it.
 4

 5                              III.    JURISDICTION AND VENUE

 6           3.1.   Defendant is without knowledge or information sufficient to form a belief as to
 7   the truth of the averments made in Paragraph 3.1, and therefore, denies them.
 8
             3.2.   Defendant admits that this Court has personal jurisdiction over WSDOT and
 9
     Paula J. Hammond.
10
             3.3.   Defendant admits that venue is appropriate in this District.
11

12           3.4.   Defendant admits that this Court has subject matter jurisdiction over this action.

13           3.5.   The averment made in Paragraph 3.5 is a legal conclusion to which no response

14   is required.
15
                                             IV.     FACTS
16
             4.1.   Defendant is without knowledge or information sufficient to form a belief as to
17

18   the truth of the averments made in Paragraph 4.1, and therefore, denies them.

19           4.2.   Defendant admits that individuals illegally camp on WSDOT right of way.
20   Defendant is without knowledge or information sufficient to form a belief as to the truth of the
21
     remaining averments made in Paragraph 4.2, and therefore, denies them.
22
             4.3.   Defendant admits that there are sleeping facilities and other shelters available to
23
     homeless people in Seattle. Defendant is without knowledge or information sufficient to form
24

25   a belief as to the truth of the remaining averments made in Paragraph 4.3 and (a)-(b), and

26   therefore, denies them.

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 1           4.4.    Defendant admits that individuals, at times, establish illegal encampments on
 2   WSDOT right of way. Defendant denies that the illegal encampments are always placed in
 3
     isolated areas. Defendant denies that the illegal encampments are always placed away from
 4
     busy public areas. Defendant is without knowledge or information sufficient to form a belief
 5
     as to the truth of the remaining averments made in Paragraph 4.4 and (a)-(c), and therefore,
 6

 7   denies them.

 8           4.5.    Defendant admits that individuals sometimes illegally erect tents or lean-tos on
 9   WSDOT right of way. Defendant is without knowledge or information sufficient to form a
10
     belief as to the truth of the remaining averments made in Paragraph 4.5, and therefore, denies
11
     them.
12
             4.6.    Defendant is without knowledge or information sufficient to form a belief as to
13
     the truth of the averments made in Paragraph 4.6 and therefore, denies them.
14

15           4.7.    Defendant is without knowledge or information sufficient to form a belief as to

16   the truth of the averments made in Paragraph 4.7 and (a)-(e), and therefore, denies them.
17           4.8.    Defendant is without knowledge or information sufficient to form a belief as to
18
     the truth of the averments made in Paragraph 4.8 and (a)-(f), and therefore, denies them.
19
             4.9.    Defendant is without knowledge or information sufficient to form a belief as to
20
     the truth of the averments made in Paragraph 4.9 and (a)-(d), and therefore, denies them.
21

22           4.10.   Defendant denies that personal property left on WSDOT right of way is not

23   abandoned. Defendant is without knowledge or information sufficient to form a belief as to the

24   truth of the remainder of the averments made in Paragraph 4.10, and therefore, denies them.
25           4.11.   Omitted in Complaint.
26

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 1          4.12.   Defendant is without knowledge or information sufficient to form a belief as to
 2   the truth of the averments made in Paragraph 4.12, and therefore, denies them.
 3
            4.13.   Defendant denies that the illegal encampments are located in isolated areas.
 4
     Defendant denies that the illegal encampments are located on property that is less likely to
 5
     interfere with other uses and activities that might occur in the location of the property.
 6

 7   Defendant is without knowledge or information sufficient to form a belief as to the truth of the

 8   averments made in Paragraph 4.13 and (a)-(c), and therefore, denies them.
 9          4.14.   Defendant admits that illegal encampments have been established on property
10
     owned by the City of Seattle.
11
            4.15.   Defendant admits that individuals have established illegal encampments on
12
     WSDOT right of way.
13
            4.16.   Defendant admits that WSDOT does not approve of or support the existence of
14

15   encampments on WSDOT right of way. Defendant is without knowledge or information

16   sufficient to form a belief as to the truth of the remaining averment made in Paragraph 4.16,
17   and therefore denies it.
18
            4.17.   Defendant admits that in the past, WSDOT has taken steps to ensure that
19
     individuals camping illegally do not continue to occupy WSDOT right of way. Defendant
20
     admits that on September 26, 2008, the City of Seattle took steps to ensure that individuals
21

22   camping illegally on property owned by the City vacated said property.

23          4.18.   Defendant admits that when it has taken steps to ensure that illegal campers do

24   not continue to occupy WSDOT right of way, it utilizes WSDOT personnel or others acting at
25   the request of WSDOT. Defendant is without knowledge or information sufficient to form a
26

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 1   belief as to the truth of the remaining averments made in Paragraph 4.18, and therefore, denies
 2   them.
 3
             4.19.   Defendant admits that when it has taken steps in the past to ensure that illegal
 4
     campers do not continue to occupy WSDOT right of way, employees, contractors, or other
 5
     agents of WSDOT enter the right of way on which the illegal encampment is located.
 6

 7           a.      Defendant admits that the personal property found at the illegal encampment is

 8   collected and inventoried. Defendant denies that the collection of property is a “seizure” for
 9   purposes of the Fourteenth Amendment of the United States Constitution or Article 1,
10
     Section 7 of the Washington State Constitution.         Defendant is without knowledge or
11
     information sufficient to form a belief as to the truth of the remaining averments made in
12
     Paragraph 4.19, and therefore, denies them.
13
             b.      Defendant denies the averment made in Paragraph 4.19(b).
14

15           c.      Defendant admits the averment made in Paragraph 4.19(c).

16           d.      Defendant admits that illegal campers are required to leave WSDOT right of
17   way.
18
             4.20.   Defendant denies that prior to April 7, 2008, WSDOT had no written policy or
19
     set of procedures to address illegal encampments.        Defendant is without knowledge or
20
     information sufficient to form a belief as to whether WSDOT, prior to April 7, 2008, ever
21

22   obtained a warrant or court order prior to requiring illegal campers to move from WSDOT

23   right of way. Defendant admits that prior to April 7, 2008, there was no administrative or

24   judicial tribunal or other process by which illegal campers could object to being required to
25
26

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 1   vacate WSDOT right of way.           Defendant denies the remaining averments made in
 2   Paragraph 4.20.
 3
            4.21.   Defendant denies the averments made in Paragraph 4.21.
 4
            4.22.   Defendant admits that advocates for the homeless have complained to WSDOT
 5
     about the removal of individuals camping illegally from WSDOT right of way. Defendant
 6

 7   denies the remaining averments made in Paragraph 4.22.

 8          4.23.   Defendant is without knowledge or information sufficient to form a belief as to
 9   the truth of the averments made in Paragraph 4.23, and therefore, denies them.
10
            4.24.   Defendant is without knowledge or information sufficient to form a belief as to
11
     the truth of the averments made in Paragraph 4.24, and therefore, denies them.
12
            4.25.   Defendant admits that on December 1, 2008, WSDOT revised General Special
13
     Provision (GSP) 070402.FR1 – Health Hazards. Defendant denies that the provision was
14

15   “enacted.” Defendant denies that the provision is an “administrative rule.” Defendant denies

16   that it ever treated any individual in an unconstitutional or unlawful manner. Defendant is
17   without knowledge or information sufficient to form a belief as to the truth of the remaining
18
     averments made in Paragraph 4.25, and therefore, denies them.
19
            4.26.   Defendant denies the averments made in Paragraph 4.26.
20
            4.27.   Defendant denies the averments made in Paragraph 4.27.
21

22          4.28.   Defendant denies the averments made in Paragraph 4.28.

23
                          V.      GROUNDS FOR INJUNCTIVE RELIEF
24
            5.1.    Defendant admits that pursuant to the notice posted at the site of the illegal
25
     encampment located on West Marginal Way SW and 2nd Avenue SW in Seattle on July 20,
26

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 1   2009, it intended to clear the area on July 23, 2009. Defendant denies the remaining averments
 2   made in Paragraph 5.1.
 3
            5.2.   Defendant denies the averments made on Paragraph 5.2 and (a)-(d).
 4
            5.3.   Defendant denies that any individual suffered any compensable loss or injury
 5
     when WSDOT cleared its right of way on July 23, 2009. Defendant denies the remaining
 6

 7   averment made in Paragraph 5.3.

 8          5.4.   Defendant denies that WSDOT damaged, destroyed or lost any items of
 9   personal property when it cleared its right of way on July 23, 2009. Defendant is without
10
     knowledge or information sufficient to form a belief as to the truth of the averments made in
11
     Paragraph 5.4, and therefore, denies them.
12
            Section 6 Omitted in Complaint
13

14                                  VII.   CAUSES OF ACTION
15          7.1.   Unreasonable Search & Seizure: Defendant answers the averments made in
16
     Paragraph 7.1 as follows:
17
            a.     Defendant admits the averment made in Paragraph 7.1(a).
18
            b.     Defendant admits that it has in the past collected, discarded and stored items of
19

20   property found at the illegal encampments. Defendant denies that the collection of property is

21   a “seizure” for purposes of the Fourteenth Amendment of the United States Constitution or

22   Article 1, Section 7 of the Washington State Constitution. Defendant denies the remaining
23
     averments made in Paragraph 7.1(b).
24
            c.     Defendant denies the averment made in Paragraph 7.1(c).
25
            d.     Defendant denies the averment made in Paragraph 7.1(d).
26

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 1          7.2.   Violation of the Constitutional Right to Travel: Defendant answers the
 2   averments made in Paragraph 7.2 as follows:
 3
            a.     Defendant denies the averment made in Paragraph 7.2(a).
 4
            7.3.   Deprivation of Property Without Due Process of Law: Defendant answers
 5
     the averments made in Paragraph 7.3 as follows:
 6

 7          a.     Defendant admits the averments made in Paragraph 7.3(a).

 8          b.     Defendant admits that it has in the past collected, discarded and stored items
 9   found at illegal encampments located on WSDOT right of way. Defendant denies that the
10
     collection of property is a “seizure” for purposes of the Fourteenth Amendment of the United
11
     States Constitution or Article 1, Section 7 of the Washington State Constitution. As the
12
     Plaintiffs do not have the right to occupy and store personal belongings on WSDOT right of
13
     way, WSDOT is not required to provide the Plaintiffs notice and an opportunity to be heard
14

15   prior to taking steps to ensure that they do not continue to occupy WSDOT right of way.

16   Defendant denies the remaining averments made in Paragraph 7.3(b).
17          c.     Defendant admits that it has in the past collected, discarded and stored items
18
     found at illegal encampments located on WSDOT right of way. Defendant denies that the
19
     collection of property is a “seizure” for purposes of the Fourteenth Amendment of the United
20
     States Constitution or Article 1, Section 7 of the Washington State Constitution. As the
21

22   Plaintiffs do not have the right to occupy and store personal belongings on WSDOT right of

23   way, WSDOT is not required to provide the Plaintiffs notice and an opportunity to be heard

24   prior to taking steps to ensure that they do not continue to occupy WSDOT right of way.
25   Defendant denies the remaining averments made in Paragraph 7.3(c).
26

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 1          d.      Defendant denies the averments made in Paragraph 7.3(d).
 2          e.      As the Plaintiffs do not have the right to occupy and store personal belongings
 3
     on WSDOT right of way, WSDOT is not required to afford a tribunal before which Plaintiffs
 4
     can contest the removal of their property from WSDOT right of way. Defendant denies that
 5
     the removal of property stored on WSDOT right of way is a “seizure” for purposes of the
 6

 7   Fourteenth Amendment of the United States Constitution or Article 1, Section 7 of the

 8   Washington State Constitution. Defendant denies the averments made in Paragraph 7.3(e).
 9          f.      Defendant admits that when General Special Provision 070402.FR1 – Health
10
     Hazards is applicable, personal property left at an illegal encampment is removed, placed in
11
     large transparent plastic bags, and stored at a nearby location for return to the property owner.
12
     Defendant further admits that personal property removed from the site of an illegal
13
     encampment is retained for 70 days. As the Plaintiffs do not have the right to occupy and store
14

15   personal belongings on WSDOT right of way, WSDOT does not afford the Plaintiffs a tribunal

16   to contest the removal of their personal property from WSDOT right of way. Defendant denies
17   the remaining averments made in Paragraph 7.3(f).
18
            g.      Defendant denies that individuals who camp illegally on WSDOT right of way
19
     are entitled to an opportunity to contest the removal of their personal property from WSDOT
20
     right of way. Defendant denies that the removal of property from WSDOT right of way is a
21

22   “seizure” for purposes of the Fourteenth Amendment of the United States Constitution or

23   Article 1, Section 7 of the Washington State Constitution. Defendant denies the remaining

24   averments made in Paragraph 7.3(g).
25          h.      Defendant denies the averments made in Paragraph 7.3(h).
26

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 1          i.      Defendant denies the averments made in Paragraph 7.3(i).
 2          j.      Defendant denies the averments made in Paragraph 7.3(j).
 3
            7.4.    Unlawful Takings Without Just Compensation: Defendant answers the
 4
     averments made in Paragraph 7.4 as follows:
 5
            a.      Defendant admits the averments made in Paragraph 7.4(a).
 6

 7          b.      Defendant admits that it has in the past collected, discarded and stored items

 8   found at illegal encampments located on WSDOT right of way.                 Defendant denies the
 9   remaining averments made in Paragraph 7.4(b).
10
            c.      Defendant is without knowledge or information sufficient to form a belief as to
11
     the truth of the averments made in Paragraph 7.4(c), and therefore, denies them.
12
            d.      Defendant denies the averments made in Paragraph 7.4(d).
13
            e.      Defendant denies the averments made in Paragraph 7.4(e).
14

15          7.5.    Failure to Afford Equal Protection of the Laws: Defendant answers the

16   averments made in Paragraph 7.5 as follows:
17          a.      Defendant is without knowledge or information sufficient to form a belief as to
18
     the truth of the averments made in Paragraph 7.5(a), and therefore, denies them.
19
            b.      Defendant is without knowledge or information sufficient to form a belief as to
20
     the truth of the averments made in Paragraph 7.5(b), and therefore, denies them.
21

22          c.      Defendant is without knowledge or information sufficient to form a belief as to

23   the truth of the averments made in Paragraph 7.5(c), and therefore, denies them.

24          d.      Defendant is without knowledge or information sufficient to form a belief as to
25   the truth of the averments made in Paragraph 7.5(d), and therefore, denies them.
26

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 1          e.      Defendant is without knowledge or information sufficient to form a belief as to
 2   the truth of the averments made in Paragraph 7.5(e), and therefore, denies them.
 3
            f.      Defendant denies that Plaintiffs’ status as homeless persons merit extraordinary
 4
     protection. Defendant is without knowledge or information sufficient to form a belief as to the
 5
     truth of the averments made in Paragraph 7.5(f), and therefore, denies them.
 6

 7          g.      Defendant denies that homeless persons constitute a suspect class. Defendant

 8   denies that it violated the constitutional right of the Plaintiffs. Defendant denies the remainder
 9   of the averments made in Paragraph 7.5(g).
10
            h.      WSDOT admits that it does not permit illegal encampments on WSDOT right
11
     of way because, among other things, the conditions of the encampments may constitute health
12
     and safety violations, the sites are not suitable for habitation, and occupying WSDOT right of
13
     way creates a safety risk to those individuals who so occupy it.               Defendant denies the
14

15   remaining averments made in Paragraph 7.5(h).

16          i.      Defendant denies the averments made in Paragraph 7.5(i) and (i)-(iii).
17          j.      Defendant denies the averments made in Paragraph 7.5(j).
18
            k.      Defendant denies the averments made in Paragraph 7.5(k).
19
            l.      Defendant denies the averments made in Paragraph 7.5(l).
20
            m.      Defendant denies the averments made in Paragraph 7.5(m).
21

22          7.6.    Failure to Reasonably Accommodate Homeless Persons with Disabilities:

23   Defendant answers the averments made in Paragraph 7.6 as follows:

24          a.      Defendant admits the averments made in Paragraph 7.6(a).
25
26

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 1          b.      Defendant is without knowledge or information sufficient to form a belief as to
 2   the truth of the averments made in Paragraph 7.6(b), and therefore, denies them.
 3
            c.      Defendant is without knowledge or information sufficient to form a belief as to
 4
     the truth of the averments made in Paragraph 7.6(c), and therefore, denies them.
 5
            d.      Defendant is without knowledge or information sufficient to form a belief as to
 6

 7   the truth of the averments made in Paragraph 7.6(d), and therefore, denies them.

 8          e.      Defendant is without knowledge or information sufficient to form a belief as to
 9   the truth of the averments made in Paragraph 7.6(e), and therefore, denies them.
10
            f.      Defendant is without knowledge or information sufficient to form a belief as to
11
     the truth of the averments made in Paragraph 7.6(f), and therefore, denies them.
12
            g.      Defendant is without knowledge or information sufficient to form a belief as to
13
     the truth of the averments made in Paragraph 7.6(g), and therefore, denies them.
14

15          h.      Defendant denies the averments made in Paragraph 7.6(h).

16          i.      Defendant denies the averments made in Paragraph 7.6(i).
17          j.      Defendant denies the averments made in Paragraph 7.6(j).
18
            7.7.    Eighth Amendment Violation: Defendant answers the averments made in
19
     Paragraph 7.7 as follows:
20
            a.      Defendant is without knowledge or information sufficient to form a belief as to
21

22   the truth of the averments made in Paragraph 7.7(a), and therefore, denies them.

23          b.      Defendant is without knowledge or information sufficient to form a belief as to

24   the truth of the averments made in Paragraph 7.7(b), and therefore, denies them.
25
26

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 1           c.      Defendant is without knowledge or information sufficient to form a belief as to
 2   the truth of the averments made in Paragraph 7.7(c), and therefore, denies them.
 3
             d.      Defendant denies the averments made in Paragraph 7.7(d).
 4
             e.      Defendant denies the averments made in Paragraph 7.7(e).
 5
             7.8.    Defendant admits it acts under color of state law.              Defendant denies the
 6

 7   remaining averment made in Paragraph 7.8.

 8           7.9.    Defendant denies the averments made in Paragraph 7.9.
 9           7.10.   The averment made in Paragraph 7.10 is a legal conclusion to which no
10
     response is required.
11

12                           VIII. RELIEF REQUESTED BY PLAINTIFF

13           8.1.    Defendant denies that Plaintiffs are entitled to an injunction and therefore

14   denies the averments made in Paragraph 8.1(a)-(h). See Veterans for Peace Greater Seattle,
15   Chapter 92, et al. v. City of Seattle, et al., No. 09-1032 RSM (W.D. Wash. July 24, 2009).
16
             8.2.    Defendant denies that Plaintiff is entitled to an injunction forbidding any future
17
     “sweeps.”
18
             8.3.    Defendant denies that Plaintiffs are entitled to any of the types of relief set forth
19

20   in Paragraph 8.3(a)-(d).

21           8.4.    Defendant denies that Plaintiff is entitled to a jury trial for their claims for

22   injunctive relief.
23
                                   IX.     AFFIRMATIVE DEFENSES
24

25           By way of further answer and affirmative defenses, Defendant alleges as follows:

26           9.1.    Plaintiffs fail to state a claim for which relief can be granted.

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 1          9.2.    Plaintiffs’ lawsuit is a frivolous action under Rule 11 of the Federal Rules of
 2   Civil Procedure as the pleadings are not well grounded in fact, not legally tenable, and
 3
     interposed for improper purposes.
 4

 5                                    X.   PRAYER FOR RELIEF

 6          1.      The Court enter judgment dismissing the Complaint with prejudice and without
 7   awarding Plaintiff any relief.
 8
            2.      For sanctions against Plaintiffs’ attorneys, pursuant to Civil 11 of the Federal
 9
     Rules of Civil Procedure.
10
            3.      The award of reasonable attorney fees and costs in favor of Defendants State of
11

12   Washington and Paula Hammond against Plaintiff.

13          4.      For such further relief as the Court deems just and proper.

14          DATED this 10th day of August, 2009.
15
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16                                          Attorney General
17
                                            s/BRYCE E. BROWN
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26

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         Case 2:09-cv-01032-RSM Document 17 Filed 08/10/09 Page 16 of 16




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